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                Exhibit 17
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MESSAGE FROM PRESIDENT FUCHS AND PROVOST GLOVER
President Kent Fuchs and Provost and Senior Academic Affairs VP Joe Glover
November 1, 2021

Dear campus community,


There have been news reports over the weekend indicating the University of Florida violated the First
Amendment rights of three faculty members by denying their requests to testify in exchange for
payment in a lawsuit over the state of Florida's new election laws.


First, we would like to be abundantly clear that the University of Florida stands firmly behind its
commitment to uphold our most sacred right as Americans — the right to free speech — and to faculty
members' right to academic freedom. Nothing is more fundamental to our existence as an institution of
higher learning than these two bedrock principles. Vigorous intellectual discussions are at the heart of
the marketplace of ideas we celebrate and hold so dear.


Second, we are immediately appointing a task force to review the university's conflict of interest policy
and examine it for consistency and fidelity. While the existing policy was revised just last year, it is critical
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Finally, as has already been reported by some news organizations, if the professors wish to testify pro
bono on their own time without using university resources, they are free to do so.




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